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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                     Debtors.1                         (Jointly Administered)

                                                                       Re: Docket 136

    SUPPLEMENTAL DECLARATION OF DEBRA I. GRASSGREEN IN SUPPORT OF
     DEBTORS’ APPLICATION FOR AUTHORIZATION TO EMPLOY AND RETAIN
     PACHULSKI STANG ZIEHL & JONES LLP AS COUNSEL FOR THE DEBTORS
                   EFFECTIVE AS OF THE PETITION DATE


I, Debra I. Grassgreen, Esquire, declare under penalty of perjury as follows:

          1.     I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP (“PSZJ” or

the “Firm”), with an office address of 150 California Street, 15th Floor, San Francisco, CA

94111-4500. I am duly admitted to practice law in the State of California and have been

admitted pro hac vice in theses. This supplemental declaration (the “Supplemental Declaration”)

is submitted in support of the Debtors’ Application for Authorization to Employ and Retain

Pachulski Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the Petition Date

(the “Application”), filed on August 24, 2023 at Docket No. 136.2 Except as set forth herein, the

statements contained in my original declaration submitted with the Application remain true and

correct.




1        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.
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    Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Application.
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                   2.      PSZ&J received payments from the Debtors during the year prior to the

Petition Date in the amount of $1,874,692.003 (the “Retainer”) in connection with the

preparation of initial documents and the prepetition representation of the Debtors. After

application of the Retainer to pay prepetition amounts owed to PSZ&J, no balance of the

Retainer remains and PSZ&J waived any remaining balance due to it from the Debtors.

         3.        Accordingly, I believe the Firm is a “disinterested person” as that term is defined

in section 101(14) of the Bankruptcy Code.


         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: October 19, 2023                                         /s/ Debra I. Grassgreen
                                                                Debra I. Grassgreen




3 One payment from the Debtors to PSZ&J was double counted.    This amount has been revised to correct the
inadvertent accounting error.


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